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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                                 CASE NO. 6:06-cr-125-Orl-19DAB

 CLARENCE ALEXANDER,

              Defendant.


                                           ORDER

       Defendant filed a Motion to Reduce Sentence Based on Guideline Amendment

 Twelve (Doc. No. 1621). Defendant seeks a reduction of his sentence pursuant to 28 U.S.C.

 § 3582(c)(2), USSG § 1B1.10, and USSG § 4A1.2(c). Id. at 1. In support of the motion,

 Defendant asserts that USSG § 1B1.10 requires retroactive application of an amendment to

 USSG § 4A1.2(c) that became effective in November of 2007. Id. at 2. Although Defendant

 references Amendment 12 in the title of his motion, the amendment on which he relies is

 Amendment 709. See USSG § 4A1.2(c) (2007), historical note; see also USSG App. C,

 Amendment 709 (2007).

       Section 1B1.10, provides in pertinent part:

              Amendments covered by this policy statement are listed in
              Appendix C as follows: 126, 130, 156, 176, 269, 329, 341, 371,
              379, 380, 433, 454, 461, 484, 488, 490, 499, 505, 506, 516, 591, 599,
              606, 657, 702, and 706 as amended by 711.

 USSG § 1B1.10(c) (Supp. 2008). Thus, contrary to Defendant’s contention, USSG § 1B1.10
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 does not warrant retroactive application of Amendment 709. Furthermore, to the extent

 Defendant is seeking a reduction of his sentence based on the amendment to the Federal

 Sentencing Guidelines for offenses involving cocaine base (“crack cocaine”), no basis exists

 to grant relief. Petitioner was not convicted of or sentenced for an offense involving crack

 cocaine, but instead for an offense involving cocaine hydrochloride. See Doc. No. 1235.

        Accordingly, it is now ORDERED AND ADJUDGED that Defendant’s Motion to

 Reduce Sentence Based on Guideline Amendment Twelve (Doc. No. 1621) is hereby

 DENIED.

        DONE AND ORDERED in Chambers at Orlando, Florida this _22nd____ day of

 April, 2008.




 Copies to:
 sc 4/22
 Clarence Alexander
 Counsel of Record




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